       Case 2:19-cv-00277-TC-PMW Document 68 Filed 07/24/19 Page 1 of 3




Daniel K. Brough (Utah Bar No. 10283)
Ryan M. Merriman (Utah Bar No. 14720)
BENNETT TUELLER JOHNSON & DEERE
3165 East Millrock Drive, Suite 500
Salt Lake City, Utah 84121
Telephone: (801) 438-2000
Facsimile: (801) 438-2050
Email: dbrough@btjd.com, rmerriman@btjd.com

Attorneys for Defendants William Bowser, Noah Corporation, and
Gabriel Management Corporation


      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    CENTRAL DIVISION


ROSA DiTUCCI, an individual; et al.,             NOTICE OF INTERLOCUTORY APPEAL

       Plaintiffs,
                                                   Case No. 2:19-CV-00277-TC
vs.
                                                   District Judge Tena Campbell
WILLIAM BOWSER, an individual; et al.,

       Defendants.


        Defendants William Bowser and Gabriel Management Corporation, by and through

counsel and pursuant to Federal Rules of Appellate Procedure 3 and 4, 28 U.S.C. § 1292(a)(1),

and the collateral order exception to 28 U.S.C. § 1291, appeal the Court’s June 24, 2019, Order

and Memorandum Decision Granting Prejudgment Writ of Attachment (the “Order”) to the United

States Court of Appeals for the Tenth Circuit.
Case 2:19-cv-00277-TC-PMW Document 68 Filed 07/24/19 Page 2 of 3




DATED this 24th day of July, 2019.


                                     BENNETT TUELLER JOHNSON & DEERE


                                     /s/ Daniel K. Brough
                                     Daniel K. Brough
                                     Ryan M. Merriman

                                     Attorneys for Defendants William Bowser, Noah
                                     Corporation, and Gabriel Management
                                     Corporation




                                        2
      Case 2:19-cv-00277-TC-PMW Document 68 Filed 07/24/19 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on the 24th day of July, 2019, I caused the foregoing NOTICE OF

INTERLOCUTORY APPEAL to be electronically filed utilizing the Court’s CM/ECF system,

which delivered immediate notice of the same to the following:

        Wesley D. Felix                            David L. Mortensen
        Andrew G. Deiss                            STOEL RIVES LLP
        Brenda E. Weinberg                         201 South Main Street, Suite 1100
        DEISS LAW PC                               Salt Lake City, UT 84111
        10 West 100 South, Suite 425               david.mortensen@stoel.com
        Salt Lake City, UT 84101
        wfelix@deisslaw.com                        J. Ryan Mitchell
        adeiss@deisslaw.com                        MITCHELL BARLOW & MANSFIELD,
        bweinberg@deisslaw.com                     P.C.
                                                   Boston Building
        Julie E. Kenworthy                         9 Exchange Place, Suite 600
        Ryan C. Cadwallader                        Salt Lake City, UT 84111
        KIRTON McCONKIE                            rmitchell@mbmlawyers.com
        36 South State Street, Suite 1900
        P.O. Box 45120                             Scott D. Sweeney
        Salt Lake City, UT 84145-3600              WILSON ELSER MOSKOWITZ
        jkenworthy@kmclaw.com                      ELDEMAN & DICKER LLP
        rcadwallader@kmclaw.com                    1225 17th Street, Suite 2750
                                                   Denver, CO 80202
                                                   Scott.Sweeney@wilsonelser.com



                                            /s/ Daniel K. Brough




                                               3
